  Case 1:20-cv-00052-SPW Document 366-9 Filed 04/19/24 Page 1 of 33




Exhibit I
                        CaseET
           TRACY CAEKAERT,   1:20-cv-00052-SPW Document
                               AL. V. WATCHTOWER  BIBLE 366-9 Filed 04/19/24
                                                        AND TRACT            Page
                                                                    SOCIETY OF NEW2 ofYORK,
                                                                                       33 INC., ET AL
CAUSE NO.1:20-CV-00052-SPW; UNITED STATES DISTRICT COURT, FOR THE DISTRICT OF MONTANA, BILLINGS DIVISION

          ARIANE ROWLAND, ET AL. V. WATCHTOWER BIBLE AND TRACT SOCIETY OF NEW YORK, INC., ET AL
CAUSE NO.1:20-CV-00059-SPW; UNITED STATES DISTRICT COURT, FOR THE DISTRICT OF MONTANA, BILLINGS DIVISION

     WATCHTOWER BIBLE AND TRACT SOCIETY OF NEW YORK INC'S FOURTH SUPPLEMENTAL PRIVILEGE LOG



    PL      Date        Document          Author(s)      Recipient                  Description                     Format         Privilege
    No.                   Type                                                                                                     Asserted
                                                      Watchtower Lel!al Department Records
     1.   07/22/1992       Notes        Legal             None       Attorney/Paralegal Notes of Call with            PDF            A/C
                                        Department                   Hardin, MT, Congregation. Re: Legal
                                                                     Advice concernin2 Bruce Maplev, Sr.
     2.   07/22/1992   Running series   Legal             None       Attorney/Paralegal Notes of Separate        Lotus Notes PDF   A/C; TP
           through       of Notes       Department                   Calls with Congregations: Ashland, WI;
          10/01/2019                                                 Iron River, WI; Shawano, WI; Forsyth,
                                                                     MT; Hardin, MT; West Laurel, MT;
                                                                     Livingston, MT; Park Place, Oregon City,
                                                                     OR; Center Point, AL; Roebuck,
                                                                     Birmingham, AL. Re: Legal Advice
                                                                     concerning Bruce Mapley, Sr., and
                                                                     Martin Svenson
     3.   07/22/1992      Call          Legal             None       Attorney/Paralegal Notes of Separate           HuB PDF        A/C; TP
           through      Summaries       Department                   Calls with Congregations: Iron River, WI;
          10/01/2019                                                 Shawano, WI; Forsyth, MT; Hardin, MT;
                                                                     Ashland, MT; West Laurel, MT;
                                                                     Livingston, MT; Park Place, Oregon City,
                                                                     OR; Center Point, AL; Roebuck,
                                                                     Binningham, AL. Re: Legal Advice
                                                                     Bruce Maplev, Sr., and Martin Svenson
     4.   04/08/2020   Call Summary     Legal             None       Attorney/Paralegal Notes of Call with          HuB PDF          A/C
                                        Department                   Roebuck, Binningham, AL,
                                                                     Congregation.
                                                                     Re: Legal Advice concerning Bruce
                                                                     Mapley, Sr.




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No.                    Type                                                                                         Asserted
 5.   03/26/1994       Notes        Legal        None   Attorney/Paralegal Notes of Call with          PDF          AIC; TP
                                    Department          Hardin, MT, Congregation.
                                                        Re: Legal Advice concerning Martin
                                                        Svenson, Nellie Means, David Means,
                                                        and Third Parties [P.M., A.A., and
                                                        M.R.l
 6.   03/26/1994   Running series   Legal        None   Attorney/Paralegal Notes of Separate      Lotus Notes PDF   A/C; TP
       through       of Notes       Department          Calls with Congregations: Chamisa Taos,
      12/10/2018                                        NM; Hardin, MT; Forsyth, MT; East
                                                        Laurel, MT.
                                                        Re: Legal Advice concerning Martin
                                                        Svenson, Nellie Means, David Means,
                                                        Bruce Mapley, Sr., and Third Parties
                                                        rP .M., A.A., and M.R. l
7.    03/26/1994       Call         Legal        None   Attorney/Paralegal Notes of Separate         HuB PDF        A/C; TP
       through       Summaries      Department          Calls with Congregations: Chamisa Taos,
      12/10/2018                                        NM; Hardin, MT; Forsyth, MT; East
                                                        Laurel, MT.
                                                        Re: Legal Advice concerning Martin
                                                        Svenson, Nellie Means, David Means,
                                                        Bruce Mapley, Sr., and Third Parties
                                                        rP.M., A.A., and M.R.l
8.    05/01/2020   Call Summary     Legal        None   Attorney/Paralegal Notes of Call with        HuB PDF          AIC
                                    Department          West Laurel, MT, Congregation.
                                                        Re: Legal Advice concerning Martin
                                                        Svenson
9.    05/07/2020   Call Summary     Legal        None   Attorney/Paralegal Notes of Call with        HuB PDF          AIC
                                    Department          West Laurel, MT, Congregation.
                                                        Re: Legal Advice concerning Martin
                                                        Svenson
10.   10/17/2019   Running series   Legal        None   Attorney/Paralegal Notes of Calls with    Lotus Notes PDF   AIC; TP
          and        of Notes       Department          Hardin, MT Congregation.
      12/13/2019                                        Re: Legal Advice concerning Gunnar
                                                        Hain
11.   10/17/2019      Call          Legal        None   Attorney/Paralegal Notes of Calls with       HuB PDF        AIC; TP
          and       Summaries       Department          Hardin, MT Congregation.
      12/13/2019                                        Re: Legal Advice concerning Gunnar
                                                        Hain



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 PL        Date             Case 1:20-cv-00052-SPW
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                                                                                                 Format       Privilege
 No.                     Type
                                                                                                              Asserted
 12.    08/05/2014    Call Summary    Legal         None    Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
                                      Department             Hardin, MT, Congregation.
                                                            Re: Legal Advice concerning Third
                                                            Party fA.A.l
 13.    07/29/2019    Call Summary    Legal        None     Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
                                      Department            Hardin, MT, Congregation.
                                                            Re: Legal Advice concerning Third
                                                            Party fJ.C.1
 14.   01/16/2006    Call Summary    Legal         None     Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
        through                      Department             Hardin, MT, Congregation.
       10/09/2019                                           Re: Legal Advice concerning Third
                                                            Party fR.H.1
 15.   08/05/2014    Call Summary    Legal         None     Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
         through                     Depa11ment             Hardin, MT, Congregation.
       09/16/2014                                           Re: Legal Advice concerning Nellie
                                                            Means
16.    08/05/2014    Call Summary    Legal         None     Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
         through                     Department             Hardin, MT, Congregation.
       09/16/2014                                           Re: Legal Advice concerning Third
                                                            Party fP.M.l
17.    09/07/2015    Call Summary    Legal         None    Attorney/Paralegal Notes of Call with    HuB PDF   A/C; TP
                                     Department            Hardin, MT, Congregation.
                                                           Re: Legal Advice concerning Third
                                                           Party fA.M.l
18.    04/02/202 l   Call Summary    Legal         None    Attorney/Paralegal Notes of Call with    HuB PDF   A/C; TP
                                     Department            Hardin, MT, Congregation.
                                                           Re: Legal Advice concerning Third
                                                           Party fR.M.1
19.    12/05/2003    Call Summary    Legal         None    Attorney/Paralegal Notes of Call with    HuB PDF   A/C; TP
                                     Depai1ment            Hardin, MT, Congregation.
                                                           Re: Legal Advice concerning Third
                                                           Party fJ.N.1
20.    11/01/2014    Call Summary    Legal         None    Attorney/Paralegal Notes of Call with    HuB PDF   A/C; TP
                                     Department            Hardin, MT, Congregation.
                                                           Re: Legal Advice concerning Third
                                                           Party fK.R.1
21.    05/24/2018    Call Summary    Legal         None    Attorney/Paralegal Notes of Call with    HuB PDF   A/C; TP
        through                      Department            Hardin, MT, Congregation.
       06/15/2018                                          Re: Legal Advice concerning Third
                                                           Party fM.R. 1
                                                           3
PL        Date            Case 1:20-cv-00052-SPW
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No.                     Type
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 22.   08/05/2014   Call Summary   Legal             None      Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
                                   Department                   Hardin, MT, Congregation.
                                                               Re: Legal Advice concerning Third
                                                               Party James Rowland
23.    04/23/2020   Call Summary   Legal             None      Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
                                   Department                  Hardin, MT, Congregation.
                                                               Re: Legal Advice concerning Third
                                                               Party rM.S.1
24.    08/05/2014   Call Summary   Legal             None      Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
                                   Department                  Hardin, MT, Congregation.
                                                               Re: Legal Advice concerning Mildred
                                                               Svenson
25.    11/01/2014   Call Summary   Legal             None      Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
         through                   Department                  Hardin, MT, Congregation.
       09/07/2015                                              Re: Legal Advice concerning Third
                                                               Party rT.V.1
26.    09/07/2015   Call Summary   Legal             None      Attorney/Paralegal Notes of Call with   HuB PDF   A/C; TP
                                   Department                  Hardin, MT, Congregation.
                                                               Re: Legal Advice concerning Third
                                                               Party [C.W.]


                                        Correspondence (March 14, 1997, BOE Letter Responses)
27.    04/19/1997      Letter      C.F.           Service     Confidential communicat ion               PDF      CP;TP
                                   Congregatio n  Department Re: Seeking or receiving religious
                                                              guidance, admonishment, or advice
                                                              concerning Third Party [C.R.]
28.    04/24/1997      Letter      H.P.           Service      Confidential communicat ion              PDF      CP;TP
                                   Congregation   Department   Re: seeking or receiving religious
                                                               guidance, admonishment, or advice
                                                               concernine: Third Party rB.M.1




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 PL        Date           Case
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                                               Recipient           Filed 04/19/24
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 No.                    Type
                                                                                                                 Asserted
 29.    04/25/199 7     Letter    Hardin           Service        Confidential communic ation              PDF    CP; TP
                                  Congregat ion    Department    Re: Seeking or receiving religious
                                                                 guidance, admonishment, or advice
                                                                 concerning Third Party Gunnar Hain
                                                                 [This specific communication has
                                                                 already been reviewed in camera by
                                                                 this Court and determined to be
                                                                 protected under Montana 's clergy-
                                                                 penitent privilege under§ 26-1-804
                                                                 (see Court's order dated July 30, 2021,
                                                                Doc #82 at pp, 3-4)]
 30.    05/14/199 7    Letter    E.                Service      Confidential communic ation                PDF   CP;TP
                                 Congrega tion     Departme nt Re: Seeking or receiving religious
                                                                guidance, admonishment, or advice
                                                                concernine Third Party rM.C.1
3 I.   05/29/1997      Letter    L.                Service      Confidential communic ation                PDF   CP; TP
                                 Congregat ion     Department Re: Seeking or receiving religious
                                                                guidance, admonishment, or advice
                                                                concernine Third Party rL.J.1
32.    08/06/199 7     Letter    T.B.             Service       Confidential communic ation                PDF   CP;TP
                                 Congrega tion    Department Re: Seeking or receiving religious
                                                                guidance, admonishment, or advice
                                                                concernine Third Party rG.J.1
33.    08/12/199 7     Letter    B.               Service       Confidential communic ation                PDF   CP;TP
                                 Congrega tion    Department Re: Seeking or receiving religious
                                                               guidance, admonishment, or advice
                                                               concernine Third Party rT.M.1
34.    02/02/199 9    Letter     E.               Service      Confidential communic ation                 PDF   CP;TP
                                 Congregat ion    Department Re: Seeking or receiving religious
                                                               guidance, admonishment, or advice
                                                               concernine Third Party rN.0.1
35.    02/07/200 0    Letter     Be.              Service      Confidential communic ation                 PDF   CP;TP
                                 Congregat ion    Departme nt Re: Seeking or receiving religious
                                                               guidance, admonishment, or advice
                                                               concernine Third Party rK.M.1
36.    04/06/200 0    Letter     B.H.             Service      Confidential communic ation                 PDF   CP;TP
                                 Congregat ion    Departme nt Re: Seeking or receiving religious
                                                               guidance, admonishment, or advice
                                                               concernine Third Party rR.G.1
                                                       Correspondence (Other)
                                                                5
 PL        Date             Case 1:20-cv-00052-SPW
                       Document     Author(s)         Document 366-9 Description
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 No.                     Type
                                                                                                                   Asserted
 37.   09/15/1997        Letter       Hardin          Pacific WA   Confidential communicat ion               PDF    CP;TP
                                      Congregatio n   Congregati   Re: Providing religious guidance,
                                                     011           admonishment, or advice concerning
                                                                   Gunnar Hain
 38.   09/14/1998        Letter       Hardin         Service       Confidential communication                PDF    CP;TP
                                      Congregatio n  Department Re: Seeking or receiving religious
                                                                  guidance, admonishment, or advice
                                                                  concerning Martin Svenson
39.    09/27/1999        Letter       Service        Hardin       Confidential communication                 PDF    CP;TP
                                      Department     Congregati Re: Providing religious guidance,
                                                     011          admonishment, or advice concerning
                                                                  Gunnar Hain
40.    l 0/14/1999       Form         Canyon Ferry   Service      Confidential communicat ion                PDF    CP; TP
                                      Congregation, Department Re: Seeking or receiving religious
                                     Helena, MT                   guidance, admonishment, or advice
                                                                  concerning Bruce Mapley, Sr.
41.    05/05/2011        Letter      Hardin         Legal         Letter seeking legal advice                PDF     AIC
                                     Congregation   Department Re: Threat of legal action in relation to
                                                                  Bruce Mapley, Sr., Gunnar Hain, and
                                                                  Martin Svenson
42.    06/15/2011    Memorandum      Legal          Service       Attorney providing legal advice.           PDF     AIC
                                     Department     Department Re: Bruce Mapley, Sr., Gunnar Hain,
                                                                  and Martin Svenson
43.    12/26/2014    Memorandu m     Service        Legal         Memo seeking legal advice.                 PDF     AIC
                                     Department     Department Re: Bruce Mapley, Sr.
44.    01/02/2015    Memorandu m     Legal          Service       Attorney providing legal advice.           PDF     AIC
                                     Department     Department Re: Bruce Mapley, Sr.
                                             Watchtowe r Legal Department Client Intake Forms
45.    09/07/2014    Client Intake   Hardin         Legal         Client seeking legal advice.               PDF   A/C; TP
                         Form        Congregation   Department Re: Seeking legal advice involving
                                                                  David Means and Nellie Means
46.    09/07/2014    Client Intake   Hardin         Legal        Client seeking legal advice.                PDF   A/C; TP
                         Form        Congregation   Department Re: Seeking legal advice involving
                                                                 David Means and Third Party rP.M.1
47.    l 0/18/2019   Client Intake   Hardin         Legal        Client seeking legal advice.                PDF   AIC; TP
                         Form        Congregatio n  Department Re: Seeking legal advice involving third
                                                                 party unrelated to this litieation rR.H.J
48.    10/18/2019    Client Intake   Hardin         Legal        Client seeking legal advice.                PDF   AIC; TP
                         Form        Congregation   Department Re: Seeking legal advice involving third
                                                                 party unrelated to this litieation rR.H.1
                                                                   6
PL       Date           Case 1:20-cv-00052-SPW
                    Document    Author(s)        Document 366-9 Description
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No.                   Type                                                                                     Asserted
49.   0413012020   Client Intake   Hardin          Legal       Client seeking legal advice.              PDF   AIC; TP
                       Form        Congregation    Department  Re: Legal issue involving third party
                                                               unrelated to this litieation [M.S.]
                                                     Amended Entries f09/23/20221
50.   01/06/1996      Notes        Hardin          NIA         Internal note documenting legal advice    PDF   AIC; TP
                                   Congregation                received by the Hardin Congregatio n
                                                               from Watchtower New York Legal
                                                               Depa11ment. [See Hardin Congregation
                                                              Privileee Loel
51.   01/0411997      Notes        Hardin          NIA        Internal notes by Hardin congregation      PDF   CP; TP
                                   Congregatio n              elders documenting ecclesiastical
                                                              communications made in confidence to
                                                              the elders for the purpose of seeking or
                                                              receiving religious guidance,
                                                              admonishment, or advice. [This specific
                                                              document has already been reviewed in
                                                              camera by this Court and certain
                                                              portions were determined to be
                                                              protected under Montana's clergy-
                                                              penitent privilege under§ 26-1-804
                                                              (see Court's order dated September 20,
                                                              2021, Doc #77 at pp. 3-4). This item has
                                                              already been produced by the Hardin
                                                              Congregation (see
                                                             ROW _HARDIN000105-108) and is
                                                              being reproduced in identical redacted
                                                             form in accordance with this Court's
                                                             decision. See document bates-
                                                             numbered WTNY 000770-0007731




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PL       Date          Case
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                                            Recipient            Filed 04/19/24
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No.                  Type                                                                                    Asserted
52.   02/19/1997    Notes     Hardin          NIA           Internal notes by Hardin Congregation      PDF    CP;TP
                              Congregation                  elders documenting ecclesiastical
                                                            communications made in confidence to
                                                            the elders for the purpose of seeking or
                                                            receiving religious guidance,
                                                            admonishment, or advice. [see Hardin
                                                            Congregation Privilege Log. This
                                                            specific document has already been
                                                            reviewed in camera by this Court and
                                                            determined to be protected under
                                                            Montana's clergy-penitent privilege
                                                            under§ 26-1-804 (see Court's order
                                                            dated September 20, 2021, Doc #77 at
                                                           D. 5)1.
                                      Amended Entries ro2/16/20231 [Revised 07/05/20231
53.   10/07/1999    Letter    West Laurel    Service       Confidential communication                  PDF   CP;TP
                              Congregation   Department Re: Seeking or receiving religious
                              MT             (for the      guidance, admonishment, or advice
                              body of elders "Montana      concerning Third Party [T.T.]
                                             desk"         The letter describes: (a) allegations of
                                             elders)      serious sin committed by TT, including
                                                          written accusations from an accuser
                                                          and personal observations from the
                                                          accuser's brother; (b) Elders' efforts to
                                                          evaluate the allegations in the context
                                                          of ecclesiastical discipline; (c)
                                                          confessions and denials by a penitent in
                                                          a confidential setting; and (d)
                                                          Scripturally-based advice from
                                                          experienced Service Department elders
                                                          in New York to West Laurel
                                                          Congregation elders. Two attachments
                                                         are included with the letter that were
                                                          used by the elders as Scripturally-based
                                                         evidence in the disciplinary process.

                                                           This letter does not pertain to any of
                                                           the Plaintiffs or accused in these
                                                           lawsuits


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54.   03/23/1993    Letter    T.B.            T.T.         Produced subject to the Stipulated            PDF      TP
                                                           Confidentiality Agreement and Protective
                                                           Order with redactions to protect third-
                                                           party privacy. See document bates-
                                                           numbered WTNY003955-WTNY003956.
                                                 Amended Entries f07/05/2023l
55.   03/19/2002    Letter    Ea.L             Be.        Confidential communication                     PDF   CP;TP
                              Congregation    Congregati Re: Seeking or receiving religious
                              MT body of      on body of guidance, admonishment, or advice
                              elders          elders      concerning Third Party [N.O.] This
                                                          letter does not pertain to any of the
                                                          Plaintiffs or accused in these lawsuits
                                                          Letter sent to Be. Congregation
                                                          containing allegations of serious sin
                                                          committed by N.O. The letter outlines
                                                          ecclesiastical discipline as a result of the
                                                          serious sin along with observations about
                                                          the mental health ofN.O. It also provides
                                                          contact infonnation for a close family
                                                          member to assist if mental health issues
                                                          emerge.
56.   04/20/2002    Letter   Canyon Ferry     Iron River  Letter sent in connection with Bruce           PDF     CP
                             MT               Congregati Mapley, Sr., relocating to a congregation
                             Congregation     on, WI      in Wisconsin. The letter details: (a)
                             body of elders   body of     serious sin committed by Mr. Mapley; (b)
                                              elders     the resulting ecclesiastical decisions of
                                                         Canyon Ferry elders and their decision
                                                         about ecclesiastical discipline of Mr.
                                                         Mapley; ( c) ongoing ecclesiastical
                                                         discipline imposed by the elders on Mr.
                                                         Mapley; and (d) the importance of
                                                         confidentiality about each of these matters
                                                         (elders only, to further the spiritual
                                                         counseling to be provided Mr. Mapley)




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PL      Date           Case
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57.   05/17/2002    Letter    Bu.            Service       Confidential communication                   PDF   CP;TP
                              Congregation   Department Re: Seeking or receiving religious
                              MT body of     (for Elders  guidance, admonishment, or advice
                              elders         overseeing concerning Third Parties [Jo.E. and
                                             "Monta na    Ro.E] This letter does not pertain to
                                             desk")       any of the Plaintiffs or accused in these
                                                          lawsuits
                                                          Letter sent in reply to experienced Service
                                                          Depattment elders in New York regarding
                                                          third-parties Jo.E. and Ro.E. The letter
                                                          details: (a) allegations of serious sin
                                                          committed by Jo.E. and Ro.E.; (b) the
                                                         congregation elders' answers to the
                                                         questions in the March 14, 1997 BOE
                                                         letter; (c) confessional statements from
                                                         Jo.E.; (d) statements made in confidence
                                                         from the other party involved in the
                                                         serious sin, S. (e) statements made by an
                                                         eyewitness to alleged acts of serious sin;
                                                         (f) the emotional and spiritual impact the
                                                         serious sin had on the brother of Ro.E.;
                                                         and (g) the deliberations of two elders
                                                         who evaluated allegations of serious sin
                                                         committed by Jo.E. in the context of
                                                         determining whether ecclesiastical
                                                         discipline should be administered




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No.                  Type                                                                                    Asserted
58.   08/18/2002    Letter    Bi.H.          Service      Confidential communication                   PDF    CP; TP
                              Congregation   Department   Re: Seeking or receiving religious
                              MT body of     (for the     guidance, admonishment, or advice
                              elders         "Montana     concerning Third Party [D.W.] This
                                             desk"        letter does not pertain to any of the
                                             elders)      Plaintiffs or accused in these lawsuits.
                                                          Letter seeking spiritual direction sent to
                                                          experienced Service Department elders in
                                                          New York regarding third-paiiy D. W.
                                                          The letter details: (a) allegations of
                                                          serious sin committed by D. W.; (b) the
                                                          congregation elders' answers to the
                                                          questions in the March 14, 1997 BOE
                                                          letter; ( c) confessional statements made
                                                          by third-party D.W.; (d) 3 separate
                                                          instances of ecclesiastical discipline
                                                          administered by the congregation elders
                                                          in connection with a variety of serious
                                                          sins committed bv D.W.




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No.                  Type                                                                                    Asserted
59.   01/22/2003    Letter    Ea.G-F          Service      Confidential communication                  PDF   CP; TP
                              Congregation    Department   Re: Seeking or receiving religious
                              MT body of      (for the     guidance, admonishment, or advice
                              elders          "Montana     concerning Third Party [R.G.] This
                                              desk"        letter does not pertain to any of the
                                              elders)     Plaintiffs or accused in these lawsuits.
                                                           Letter sent to experienced Service
                                                          Department elders in New York
                                                          requesting spiritual assistance and
                                                          guidance with an ecclesiastical
                                                          disciplinary matter (a "judicial case")
                                                          involving third-party R.G. The letter
                                                          details: (a) allegations of serious sin
                                                          committed by R.G.; (b) the congregation
                                                          elders' answers to the questions in the
                                                          March 14, 1997 BOE letter; (c)
                                                          confessional statements from R.G.; (d)
                                                          decision by R.G.'s husband on how the
                                                          serious sin would affect their marriage;
                                                          (e) previous ecclesiastical discipline of
                                                          both R.G. and her husband for serious sin
                                                         thev committed 9-10 vears prior.
60.   04/18/2003    Letter   Iron River WI    Service    Confidential communication                    PDF     CP
                             body of elders   Department Re: Seeking or receiving religious
                                              (for the   guidance, admonishment, or advice
                                              "Wisconsin concerning Bruce Mapley, Sr.
                                              desk"      Letter sent seeking Spiritual direction
                                              elders)    from experienced Service Department
                                                         elders in New York, regarding Mr.
                                                         Mapley being reinstated. The letter
                                                         details: (a) serious sin by Mr. Mapley; (b)
                                                         confessional statements made by Mr.
                                                         Mapley; (c) the congregation elders'
                                                         answers to the questions in the March 14,
                                                         1997 BOE letter; and (d) the elders'
                                                         questions about what ongoing
                                                         ecclesiastical discipline should be
                                                         imposed bv the elders on Mr. Mapley.



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                                                                Description                                  Privilege
No.                  Type                                                                                    Asserted
61.   05/10/2003    Letter    Canyon Ferry   Service      Confidential communication                   PDF      CP
                              Congregation   Department   Re: Seeking or receiving religious
                              MT, body of    (for the     guidance, admonishment, or advice
                              elders         "Montana     concerning Bruce Mapley, Sr.
                                             desk"        Letter sent to experienced Service
                                             elders)      Department elders in New York,
                                                          regarding Mr. Mapley.
                                                          The letter details: (a) serious sin by Mr.
                                                          Mapley; (b) confessional statements made
                                                          by Mr. Mapley; (c) the congregation
                                                          elders' answers to the questions in the
                                                          March 14, 1997 BOE letter; (d) the
                                                          recitation of confidential discussions
                                                          between elders in Canyon Ferry
                                                          Congregation, MT and elders in Iron
                                                          River Congregation, WI.
                                                          The letter was signed by a ''judicial
                                                          committee" (three elders tasked with
                                                          making a Scriptural evaluation of Mr.
                                                          Mapley's repentance) and refers to notes
                                                          by the judicial committee elders detailing
                                                          Mr. Maplev's serious sin.




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                                                                                                                  Privilege
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                                                                                                                  Asserted
62.   06/03/2003    Letter    No.H.          We.M            Confidential communication                     PDF   CP;TP
                              Congregation   Congregati     Re: Seeking or receiving religious
                              MT body of     on MT          guidance, admonishment, or advice
                              elders         body of        concerning Third Party [D.B.] This
                                             elders         letter does not pertain to any of the
                                                            Plaintiffs or accused in these lawsuits
                                                            Letter sent to We.M Congregation to
                                                            assist third-party D.B. to regain spiritual
                                                            strength. The letter details: (a) allegations
                                                            of serious sin committed by D.B.; (b) the
                                                            congregation elders' answers to the
                                                           questions in the March 14, 1997 BOE
                                                            letter; ( c) confessional statements from
                                                            D.B.; (d) statements made in confidence
                                                           from the other party involved in the
                                                           serious sin, J.H. (e) the elders' decision
                                                           about the ecclesiastical discipline of D.B.;
                                                           (f) the emotional and spiritual impact the
                                                           serious sin had on family members of
                                                           J.H.; (g) communications between D.B.
                                                           and the elders of the judicial committee
                                                           regarding the ecclesiastical discipline
                                                           imposed on D.B.




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                                           Recipient           Description                 Format                Privilege
No.                  Type                                                                                        Asserted
63.   06/03/2003    Letter    No.H.          Service       Confidential communication                      PDF   CP;TP
                              Congregation   Department   Re: Seeking or receiving religious
                              MT body of     (for the     guidance, admonishment, or advice
                              elders         "Montana     concerning Third Party [D.B.] This
                                             desk"        letter does not pertain to any of the
                                             elders)      Plaintiffs or accused in these lawsuits
                                                          Letter sent in reply to experienced Service
                                                          Department elders in New York in
                                                          connection with third-party D.B. The
                                                          letter details: (a) allegations of serious sin
                                                          committed by D.B.; (b) the congregation
                                                          elders' answers to the questions in the
                                                          March 14, 1997 BOE letter; (c)
                                                          confessional statements from D.B.; (d)
                                                          statements made in confidence from the
                                                          other party involved in the serious sin,
                                                          J.H. (e) the elders' decision about the
                                                          ecclesiastical discipline of D.B.; (f) the
                                                          emotional and spiritual impact the serious
                                                          sin had on family members of J.H.; (g) the
                                                          elder body's communications with third-
                                                          party congregation We.M regarding
                                                          D.B. 's serious sin (h) communications
                                                          between D.B. and elders of the judicial
                                                          committee regarding the ecclesiastical
                                                          discipline imposed on him.




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                                                               Description                                  Privilege
No.                  Type                                                                                   Asserted
64.   01/14/2004    Letter    So.L.          Service     Confidential communication                   PDF   CP; TP
                              Congregation   Department Re: Seeking or receiving religious
                              MT body of     (for the   guidance, admonishment, or advice
                              elders         "Montana   concerning Third Party [R.J.] This
                                             Desk"      letter does not pertain to any of the
                                             elders)    Plaintiffs or accused in these lawsuits
                                                        Letter sent to experienced Service
                                                        Department elders in New York regarding
                                                        third-party R.J. The letter details: (a)
                                                        allegations of serious sin committed by
                                                        R.J.; (b) the congregation elders' answers
                                                        to the questions in the March 14, 1997
                                                        BOE letter; (c) communications between
                                                        R.J. and his father (who was an elder);
                                                        and (d) the elders' observations on R.J.'s
                                                        spiritual progress and desire to be allowed
                                                        privileges in the congregation




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                     Type
                                                                                                               Asserted
65.   04/16/2005    Letter    T.F.            Service       Confidential communication                   PDF   CP;TP
                              Congre gation   Depart ment Re: Seeking or receiving religious
                              MT body of      (for the      guidance, admonishment, or advice
                              elders          "Mont ana     concerning Third Party [T.H.] This
                                              desk"         letter does not pertain to any of the
                                              elders)       Plaintiffs or accused in these lawsuits
                                                            Letter sent seeking spiritual guidan ce
                                                            from experienced Service Depart ment
                                                            elders in New York regarding third-party
                                                           T.H. The letter details: (a) allegations of
                                                           serious sin commi tted by T.H.; (b) the
                                                           congregation elders' answers to the
                                                           questions in the March 14, 1997 BOE
                                                           letter; (c) confessional statements about
                                                           serious sin from third party Do.B.; (d) the
                                                           elders' detenn ination about ecclesiastical
                                                           discipline of Do.B.; (e) T.H.'s statements
                                                          of denial during an ecclesiastical
                                                           investigation; (f) statements from the
                                                          other party involved in the serious sin, J.,
                                                          made to elders during an ecclesiastical
                                                          investigation; (g) determination of elders
                                                          about the spiritual qualifications of T.H.;
                                                          ( e) request for insight from experienced
                                                          Service Depart ment elders in New York
                                                          about what privileges in the congregation
                                                          T.H. could receive in view of the
                                                         alleiz:ations of serious sin.




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No.                  Type                                                                                     Asserted
66.   07/03/2005    Letter    So.R.          Service    Confidential communication                      PDF   CP;TP
                              Congregation   Department Re: Seeking or receiving religious
                              MT body of     (for the   guidance, admonishment, or advice
                              elders         "Montana   concerning Third Parties [D.C. and
                                             desk"      K.P.] This letter does not pertain to any
                                             elders)    of the Plaintiffs or accused in these
                                                        lawsuits

                                                          Letter sent in reply to experienced Service
                                                         Department elders in New York regarding
                                                         third-parties D.C. and K.P. The letter
                                                         details: ( a) allegations of serious sin
                                                         committed by D.C. and K.P.; (b) the
                                                         congregation elders' answers to the
                                                         questions in the March 14, 1997 BOE
                                                         letter; (c) the ecclesiastical disciplinary
                                                         action taken by the elders as to both D.C.
                                                         and K.P.; (d) confessional statements
                                                         about serious sin made by K.P; (e)
                                                         communications with third-party
                                                         congregation C.F. regarding the
                                                         ecclesiastical discipline ofD.C.; (e)
                                                         communications with third-party
                                                         congregation St.I. regarding the
                                                         ecclesiastical discipline of K.P.




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No.                  Type                                                                                    Asserted
67.   07/21/2005    Letter    St.I.          Service      Confidential communication                   PDF    CP;TP
                              Congregation   Depatiment   Re: Seeking or receiving religious
                              MT body of     (for the     guidance, admonishment, or advice
                              elders         "Montana     concerning Third Party [K.] This letter
                                             desk"        does not pertain to any of the Plaintiffs
                                             elders)      or accused in these lawsuits

                                                          Letter sent to experienced Service
                                                          Department elders in New York regarding
                                                          third-party K. The letter details: (a)
                                                          allegations of serious sin committed by
                                                          K.; (b) the congregation elders' answers
                                                          to the questions in the March 14, 1997
                                                          BOE letter; (c) confessional statements by
                                                          K.; and (d) expressions from K.'s wife to
                                                          elders regarding the possibility of their
                                                          marriage endimr.
68.   08/10/2005    Letter    Be.            Service      Confidential communication                   PDF    CP; TP
                              Congregation   Department   Re: Seeking or receiving religious
                              MT body of     (for the     guidance, admonishment, or advice
                              elders         "Montana     concerning Third Party [N.O.] This
                                             desk"        letter does not pertain to any of the
                                             elders)      Plaintiffs or accused in these lawsuits

                                                          Letter sent to experienced Service
                                                          Department elders in New York regarding
                                                          third-party N.O. The letter details: (a)
                                                          allegations of serious sin committed by
                                                          N.O.; (b) answers to the questions in the
                                                          March 14, 1997 BOE letter; (c)
                                                          confessional statements by N.O. about
                                                          serious sin he committed; and (d) a
                                                          history of 3 separate ecclesiastical
                                                          disciplinary reviews for a variety of
                                                          serious sins committed by N.O. and the
                                                          ecclesiastical disciplinary steps taken by
                                                          elders




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No.                  Type                                                                                   Asserted
69.   04/05/2006    Letter    So.R.          Service    Confidential communication                    PDF   CP; TP
                              Congregation   Depaitment Re: Seeking or receiving religious
                              MT body of     (for the   guidance, admonishment, or advice
                              elders         "Montana   concerning Third Party [Je.M.] This
                                             desk"      letter does not pertain to any of the
                                             elders)    Plaintiffs or accused in these lawsuits
                                                        Letter sent in reply to experienced Service
                                                        Department elders in New York,
                                                        regarding third-pa1iy Je.M. The letter
                                                        details: (a) serious sin committed by Je.M.
                                                        when he was a minor; (b) confessional
                                                        statements about his serious sins made by
                                                        Je.M.; and (c) the congregation elders'
                                                        answers to the questions in the March 14,
                                                        1997 BOE letter about Je.M.




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No.                  Type
                                                                                                             Asserted
70.   05/05/2007    Letter    So.Ha.         Service    Confidential communication                     PDF   CP;TP
                              Congregation   Department Re: Seeking or receiving religious
                              MT body of     (for the   guidance, admonishment, or advice
                              elders         "Monta na  concerning Third Party [M.H.] This
                                             desk"      letter does not pertain to any of the
                                             elders)    Plaintiffs or accused in these lawsuits

                                                          Letter sent seeking Spiritual direction
                                                          from experienced Service Department
                                                          elders in New York, regarding third-patty
                                                          M.H. The letter details: (a) serious sin
                                                          committed by M.H.; (b) confessional
                                                          statements and denials made by M.H.; (c)
                                                         the congregation elders' answers to the
                                                         questions in the March 14, 1997 BOE
                                                          letter; (d) expressions ofremo rse by M.H.
                                                         (e) statements by M.H. as to the
                                                         emotional impact of serious sin and how
                                                         it has affected his relationship with God
                                                         and others; (f) request by elder body for
                                                         clarification on whether the spiritual
                                                         guidance from experienced elders in New
                                                         York in connection with M.H. would also
                                                         apply to other matters of serious sin
                                                         involving third party C.B.




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                                                                                                                Asserted
71.   04/05/2009     Letter    S.H.           Service     Confidential communication                      PDF   CP;TP
                               Congregation   Departm ent Re: Seeking or receiving religious
                               MT body of     (for the    guidance, admonishment, or advice
                               elders         "Montan a   concerning Third Party [S.B.] This
                                              desk"       letter does not pertain to any of the
                                              elders)     Plaintiffs or accused in these lawsuits

                                                             Letter sent to experienced Service
                                                             Departm ent elders in New York upon
                                                             conclusion of an ecclesiastical
                                                             disciplinary process involving third-party
                                                             S.B. The letter details: (a) serious sin
                                                             committe d by S.B.; (b) confessional
                                                             statements made by S.B.; (c) the
                                                             congregation elders' answers to the
                                                             questions in the March 14, 1997 BOE
                                                             letter; (d) spiritual counseling provided,
                                                            and Scriptural passages used, by the
                                                            elders in an attempt to help S.B. reconcile
                                                            with God; (e) communication with elders
                                                            in third-party congregation P.-H. Idaho, to
                                                            help P.-H. elders provide ongoing
                                                            soiritual assistance to S.B.
72.   I 0/19/2009    Letter   L.P.            Service       Confidential commun ication                   PDF   CP;TP
                              Congregation    Departm ent   Re: Seeking or receiving religious
                              MT body of      (for the      guidance, admonishment, or advice
                              elders          "Montan a     concerning Third Party [J.D.M.] This
                                              desk"         letter does not pertain to any of the
                                              elders)       Plaintiffs or accused in these lawsuits

                                                            Letter sent to experienced Service
                                                            Departm ent elders in New York regarding
                                                            third-party J.D.M. The letter details: (a)
                                                            allegations of serious sin committe d by
                                                            J.D.M.; (b) the congregation elders'
                                                            answers to the questions in the March 14,
                                                            1997 BOE letter; (c) conclusions reached
                                                            by the elders on completion of the
                                                            ecclesiastical disciplinary process about
                                                            J.D.M.'s sin and repentance.

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No.                  Type                                                                                    Asserted
73.   10/28/2009    Letter    P.V.           Service    Confidential communication                     PDF    CP;TP
                              Congregation   Department Re: Seeking or receiving religious
                              MT body of     (for the   guidance, admonishment, or advice
                              elders         "Montana   concerning Third Party [S.B.] This
                                             desk"      letter does not pertain to any of the
                                             elders)    Plaintiffs or accused in these lawsuits

                                                        Letter sent to experienced Service
                                                        Department elders in New York regarding
                                                        third-party S.B. The letter details: (a)
                                                        allegations of serious sin committed by
                                                        S.B.; and (b) the congregation elders'
                                                        answers to the questions in the March 14,
                                                        1997 BOE letter about S.B.
74.   01/13/2010    Letter    L.P.           Service    Confidential communication                     PDF   CP;TP
                              Congregation   Department Re: Seeking or receiving religious
                              MT body of     (for the   guidance, admonishment, or advice
                              elders         "Montana   concerning Third Party [J.D.M.] This
                                             desk"      letter does not pertain to any of the
                                             elders)    Plaintiffs or accused in these lawsuits

                                                          Letter sent to experienced Service
                                                          Depa11ment elders in New York regarding
                                                          third-party J.D.M. The letter details: (a)
                                                          allegations of serious sin involving
                                                          J.D.M.; (b) the congregation elders'
                                                          answers to the questions in the March 14,
                                                          1997 BOE letter; (c) conclusions reached
                                                          by the elders upon completion of the
                                                          ecclesiastical disciolinarv process.




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No.                  Type                                                                                      Asserted
75.   11/09/2010    Letter    Bi-F.          Service      Confidential communication                     PDF   CP; TP;
                              Congregation   Department   Re: Seeking or receiving religious                     AC
                              MT body of     (for the     guidance, admonishment, or advice
                              elders         "Montana     concerning Third Party [D.K.] This
                                             desk"        letter does not pertain to any of the
                                             elders)      Plaintiffs or accused in these lawsuits

                                                           Letter sent in reply to experienced Service
                                                          Department elders in New York,
                                                           regarding third-pa1ty D.K. The letter
                                                          details: (a) allegations of serious sin
                                                           involving D.K.; (b) statements of
                                                          accusation made by third-party E.H. who
                                                          was present when the alleged act of
                                                          serious sin occurred; (c) the congregation
                                                          elders' answers to the questions in the
                                                          March 14, 1997 BOE letter; (d)
                                                          statements and denials of D.K.; (e)
                                                          information pertaining to an ecclesiastical
                                                          judicial case involving D.K.; The letter
                                                          also contains attorney-client privileged
                                                          information relating the request made and
                                                          legal advice provided when two of the
                                                          elders in Bi-F. Congregation called for
                                                          and receive legal advice from a
                                                          Watchtower Legal Department attorney
                                                          about the elders' duty to report alleged
                                                          child abuse.




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No.                  Type                                                                                      Asserted
76.   12/12/2010    Letter    P.V.           Y.M.         Confidential communication                     PDF   CP;TP
                              Congregation   Congregati   Re: Seeking or receiving religious
                              MT body of     on body of   guidance, admonishment, or advice
                              elders         elders in    concerning Third Party [B.C.] This
                                             California   letter does not pertain to any of the
                                                          Plaintiffs or accused in these lawsuits

                                                          Letter sent as part of an ecclesiastical
                                                          investigation into allegations of serious
                                                          sin involving third-party B.C. The letter
                                                          details: (a) specific allegations of serious
                                                          sin committed by B.C.; (c) the
                                                          ecclesiastical procedure followed by
                                                          elders in P.V. congregation in conducting
                                                          their spiritual investigation; (c)
                                                          documented statements from
                                                          eyewitnesses; (d) documented statements
                                                          from third-party B.C.; (e) the
                                                          congregation elders' answers to the
                                                          March 14, 1997, BOE letter; and (f) the
                                                          conclusion reached by elders in P.V.
                                                          Congregation upon completion of the
                                                          ecclesiastical investigation.




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No.                   Type                                                                                      Asserted
77.   09/21/2011     Letter    C.Fo.          Service    Confidential communication                       PDF   CP;TP
                               Congregation   Department Re: Seeking or receiving religious
                               MT body of     (for the   guidance, admonishment, or advice
                               elders         "Montana   concerning Third Party [N.B.] This
                                              desk"      letter does not pertain to any of the
                                              elders)    Plaintiffs or accused in these lawsuits

                                                          Letter sent to experienced Service
                                                          Department elders in New York as a
                                                          supplement to an S-77 form documenting
                                                          ecclesiastical disciplinary action taken by
                                                          congregation elders in connection with
                                                         third-party N.B. The letter details: (a)
                                                         serious sin committed by N.B.; (b)
                                                         confessional statements made by N.B.; (c)
                                                         the congregation elders' answers to the
                                                         questions in the March 14, 1997 BOE
                                                         letter; and (d) spiritual counseling
                                                         provided by elders in a confidential
                                                         setting.
78.   I 0/26/2011    Letter    C.F.           Service    Confidential communication                       PDF   CP;TP
                               Congregation   Department Re: Seeking or receiving religious
                               MT body of     (for the   guidance, admonishment, or advice
                               elders         "Montana   concerning Third Party [D.J.J.] This
                                              desk"      letter does not pertain to any of the
                                              elders)    Plaintiffs or accused in these lawsuits

                                                           Letter sent seeking Spiritual direction and
                                                           insight from experienced elders in New
                                                           York, regarding third-party D.J.J. The
                                                           letter details: (a) serious sin committed by
                                                           D.J.J.; (b) confessional statements made
                                                           by D.J.J.; (c) the congregation elders'
                                                           answers to the questions in the March 14,
                                                           1997 BOE letter; and (d) request for
                                                           spiritual insight from experienced elders
                                                           in New York.




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No.                  Type                                                                                Asserted
79.   12/24/2013    Letter    Hardin         Service     Produced subject to the Stipulated        PDF      TP
                              Congregation   Department Confidentiality Agreement and Protective
                              elders MT      elders     Order with redactions to protect third-
                                                        party privacy. See documents bates-
                                                        numbered CCJW000 171-000177
                                                        See, NAACP v. Alabama (1958) 357 U.S.
                                                        449.
80.   08/21/2017    Letters   Various        Various    Produced subject to the Stipulated         PDF   CP;TP
                                                        Confidentiality Agreement and Protective
                                                        Order with redactions to protect third-
                                                        party privacy and clergy-penitent
                                                        privileged information. See documents
                                                        bates-numbered CCJW000I 78-000184
                                                        See, NAACP v. Alabama (1958) 357 U.S.
                                                        449.
81.   08/28/2017    Letter    Service        Hardin     Produced subject to the Stipulated         PDF     TP
                              Department     Congregati Confidentiality Agreement and Protective
                                             on body of Order with redactions to protect third-
                                             elders MT  party privacy. See documents bates-
                                                        m11nbered CCJW000185-000186
                                                        See, NAACP v. Alabama (1958) 357 U.S.
                                                        449.
82.   06/10/2019    Letter    R.T.           Service    Produced subject to the Stipulated         PDF     TP
                                             Department Confidentiality Agreement and Protective
                                             elders     Order with redactions to protect third-
                                                        party privacy. See documents bates-
                                                        numbered CCJW000187-000193
                                                        See, NAACP v. Alabama (1958) 357 U.S.
                                                        449.
83.   06/25/2019    Letter    Service        R.T.       Produced subject to the Stipulated         PDF     TP
                              Department                Confidentiality Agreement and Protective
                              elders                    Order with redactions to protect third-
                                                        party privacy. See documents bates-
                                                        numbered CCJW000 194-000195
                                                        See, NAACP v. Alabama (1958) 357 U.S.
                                                        449.




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No.                  Type                                                                                  Asserted
84.   07/18/2019    Letter    Hardin         Service      Produced subject to the Stipulated         PDF      TP
                              Congregation   Department   Confidentiality Agreement and Protective
                              MT body of     elders       Order with redactions to protect third-
                              elders                      pai1y privacy. See documents bates-
                                                          numbered CCJW000 196-000197
                                                          See, NAACP v. Alabama (1958) 357 U.S.
                                                          449.
85.   07/19/2019    Letter    Service        R.T.         Produced subject to the Stipulated         PDF      TP
                              Department                  Confidentiality Agreement and Protective
                              elders                      Order with redactions to protect third-
                                                          party privacy. See documents bates-
                                                          numbered CCJW000198-000199
                                                          See, NAACP v. Alabama (1958) 357 U.S.
                                                          449.
86.   Undated       Letter    J.W.           Service      Produced subject to the Stipulated         PDF      TP
                                             Department   Confidentiality Agreement and Protective
                                             elders       Order with redactions to protect third-
                                                          party privacy. See documents bates-
                                                          numbered CCJW0O0 145-000148
                                                          See, NAACP v. Alabama (1958) 357 U.S.
                                                          449.




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87.   04/15/2015   Memorandum   Service         NIA     Internal summary created by Service          PDF    CP;TP
                    of Record   Department              Department elders based on
                                ("Montan a              correspondence/communications from
                                desk" elders)          elders describing accusations of serious
                                                       sin involving Third Party R.P. The
                                                       memorandum details: (a) confessional
                                                       statements of R.P.in the context of an
                                                       ecclesiastical disciplinary process; (b)
                                                       ecclesiastical discipline administered by
                                                       congregation elders; (c) steps taken by
                                                       R.P.'s wife in response to allegations of
                                                       serious sin; (d) communications between
                                                       congregation elders in S. Congregation
                                                       OR and Hardin Congregation MT elders
                                                       regarding allegations of serious sin
                                                       involving R.P.

                                                       This memorandum does not pertain to
                                                       any of the Plaintiffs or accused in these
                                                       lawsuits

88.   10/20/2016   Memorandum   Service         NIA   Internal summary created by Service            PDF     CP
                    of Record   Department            Department elders based on
                                ("Montana             correspondence/communications from
                                desk" elders)         elders describing accusations of serious
                                                      sin involving Gunnar Hain. The
                                                      memorandum details: (a) confessional
                                                      statements of Gunnar Hain; (b) statements
                                                      from other parties to the alleged serious
                                                      sin; (c) response of Service Department
                                                      elders to the elders involved in Montana
                                                      in the context of ecclesiastical discipline.




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PL       Date           Case 1:20-cv-00052-SPW
                    Document     Author(s)       Document 366-9 Filed
                                            Recipient                 04/19/24 Page 31 of 33Format
                                                                Description                                  Privilege
No.                   Type                                                                                   Asserted
89.   1212312017   Memorandum   Service         NIA   Internal summary created by Service              PDF      CP
                    of Record   Department             Department elders based on
                                ("Montana             correspondence/communications from
                                desk" elders)         elders describing accusations of serious
                                                      sin involving Martin Svensen. The
                                                      memorandum details: (a) statements of
                                                      denial of Ma11in Svensen; (b) statements
                                                      from other parties to the alleged serious
                                                      sin.
90.   0312912017   Memorandum   Service         NIA   Internal summary created by Service              PDF   CP; TP
                    of Record   Department            Department elders based on
                                ("Montana             correspondence/communications from
                                desk" elders)         elders describing accusations of serious
                                                      sin involving Third Party R.H. who was a
                                                      minor at the time of the alleged sin. The
                                                      memorandum details: (a) statements of
                                                      third pai1ies J.M. and M.R. alleging
                                                      serious sin; (b) details of the ecclesiastical
                                                      investigation by congregation elders; (c)
                                                      R.H.' s statements of denial.

                                                      This memorandum does not pertain to
                                                      any of the Plaintiffs or accused in these
                                                      lawsuits




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PL       Date           Case 1:20-cv-00052-SPW
                    Document     Author(s)        Document 366-9 Filed
                                             Recipient                 04/19/24 Page 32 of 33Format
                                                                 Description                              Privilege
No.                   Type                                                                                Asserted
91.   08/02/2017   Memorandum    Service         NIA    Internal summary created by Service         PDF   CP;TP
                    of Record    Department             Department elders based on
                                 ("Montana              correspondence/communications from
                                 desk" elders)          elders describing accusations of serious
                                                        sin involving Third Party M.H. The
                                                        memorandum details: (a) confessional
                                                        statements of M.H. made during the
                                                        course of elders ecclesiastical
                                                        investigation; (b) conclusions and
                                                        ecclesiastical discipline administered by
                                                        congregation elders; (d) denials by Third
                                                        Party M.H. in connection with allegations
                                                        of serious sin.

                                                       This memorandum does not pertain to
                                                       any of the Plaintiffs or accused in these
                                                       lawsuits
92.   12/27/2017   Memorandu m   Service         NIA   Internal summary created by Service          PDF   CP;TP
                    of Record    Department            Department elders based on
                                 ("Montana             correspondence/communications from
                                 desk" elders)         elders describing accusations of serious
                                                       sin involving Third Party R.L.M. The
                                                       memorandum details: (a) confessional
                                                       statements of R.L.M.; (b) conclusions and
                                                       ecclesiastical discipline administered by
                                                       congregation elders

                                                       This memorandum does not pertain to
                                                       any of the Plaintiffs or accused in these
                                                       lawsuits




                                                       31
        PL       Date           Case
                            Documen t 1:20-cv-00052-SPW
                                          Author(s)       Document 366-9 Filed
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                                                                                                                        Privilege
        No.                   Type                                                                                      Asserted
        93.   11/16/2019   Memorandum    Service         NIA         Internal summary created by Service          PDF      CP
                            of Record    Department                  Department elders based on
                                         ("Montana                   correspondence/communications from
                                         desk" elders)              elders describing accusations of serious
                                                                    sin involving Bruce Mapley, Sr. The
                                                                    memorandum details: (a) confessional
                                                                    statements by Mr. Mapley; (b) statements
                                                                    from other parties to the alleged serious
                                                                    sin; (c) response of Service Department
                                                                    elders to the Montana elders involved, in
                                                                    the context of ecclesiastical discipline.
Key:
A/C = Attorney-Client Privilege
CP = Clergy-Penitent Privilege
TP = Third-Party/Associational Right to Privacy (See, NAACP v. Alabama (1958) 357 U.S. 449.)
Date: July 5, 2023
Submitte d by Brown Law Firm, P.C., on behalf of Defendant Watchtower Bible and Tract Society of
                                                                                                 New York, Inc.




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